                                                              Case 2:16-cv-01278-JCM-GWF Document 1 Filed 06/08/16 Page 1 of 16



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                                                          7

                                                          8                               UNITED STATES DISTRICT COURT

                                                          9                                     DISTRICT OF NEVADA

                                                         10 CENTEX HOMES, a Nevada general                     Case No.
                                                            partnership,
                                                         11                                                    CENTEX HOMES’ COMPLAINT FOR:
PAYNE & FEARS LLP




                                                                         Plaintiff,
                    7251 W. LAKE MEAD BLVD., SUITE 525




                                                         12                                                    (1) BREACH OF CONTRACT;
                         LAS VEGAS, NEVADA 89128




                                                                   v.
                                                         13
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                                                                                                               (2) BREACH OF THE IMPLIED
                               (702) 851-0300




                                                                                                               COVENANT OF GOOD FAITH AND
                                                         14 ZURICH SPECIALTIES LONDON                          FAIR DEALING;
                                                            LIMITED, a New York corporation;
                                                         15 ASSURANCE COMPANY OF AMERICA,                      (3) VIOLATIONS OF NEVADA’S
                                                            an Illinois corporation; NORTHERN
                                                                                                               UNFAIR CLAIMS SETTLEMENT
                                                         16 INSURANCE COMPANY OF NEW YORK,                     PRACTICES ACT, NEV. REV. STAT.
                                                            an Illinois corporation; ST. PAUL FIRE AND         ANN. § 686A.310;
                                                         17 MARINE INSURANCE COMPANY, a
                                                            Connecticut corporation; UNIONAMERICA              (4) DECLARATORY RELIEF—DUTY TO
                                                         18 INSURANCE COMPANY LIMITED,                         DEFEND.
                                                            successor in interest to ST. PAUL
                                                         19 REINSURANCE COMPANY LIMITED, a                     JURY DEMAND
                                                            London corporation,
                                                         20

                                                         21                 Defendants.

                                                         22

                                                         23          Plaintiff Centex Homes (“Centex”) hereby alleges as follows:

                                                         24                                             PARTIES

                                                         25          1.     At all times mentioned herein, Centex Homes was and is a Nevada general

                                                         26 partnership with its principal place of business in Atlanta, Georgia. The partners of Centex Homes

                                                         27 include: (a) Centex Real Estate Corporation, (b) Nomas LLC and (c) Centex International II, LLC.

                                                         28 Centex Homes is, and at all times mentioned herein, was authorized to do business in the State of
                                                              Case 2:16-cv-01278-JCM-GWF Document 1 Filed 06/08/16 Page 2 of 16



                                                          1 Nevada.

                                                          2          2.     At all times mentioned herein, Nomas LLC was and is a Nevada limited liability

                                                          3 company with its principal place of business in Atlanta, Georgia. The sole member of Nomas

                                                          4 LLC is Centex International II, LLC.

                                                          5          3.     At all times mentioned herein, Centex International II, LLC, was and is a Nevada

                                                          6 limited liability company with its principal place of business in Atlanta, Georgia. The sole

                                                          7 member of Centex International II, LLC is Centex LLC, which is also a Nevada limited liability

                                                          8 company with its principal place of business in Atlanta, Georgia.

                                                          9          4.     At all times mentioned herein, the sole member of Centex LLC is Centex Home

                                                         10 Corporation which is a Michigan Corporation with its principal place of business in Atlanta,

                                                         11 Georgia.
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                                                         12          5.     At all times mentioned herein, Centex Real Estate Corporation (“Centex RE
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                                                         13 Corp.”) was and is a Nevada corporation with its principal place of business in Atlanta, Georgia.
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                                                         14 Centex RE Corp. is, and at all times mentioned herein, was doing business in the County of

                                                         15 Maricopa, State of Arizona.

                                                         16          6.     Plaintiff is informed and believes, and on that basis alleges, that Defendant

                                                         17 ZURICH SPECIALTIES LONDON LIMITED (“Zurich London”) at all times mentioned herein

                                                         18 was and is a New York corporation with its principal place of business in New York. Upon

                                                         19 information and belief, Zurich London is and was at all times mentioned herein eligible to do

                                                         20 business as an insurer in the State of Nevada.

                                                         21          7.     Plaintiff is informed and believes, and on that basis alleges, that Defendant

                                                         22 ASSURANCE COMPANY OF AMERICA (“Assurance”) at all times mentioned herein was and

                                                         23 is an Illinois corporation with its principal place of business in Illinois. Upon information and

                                                         24 belief, Assurance is and was at all times mentioned herein eligible to do business as an insurer in

                                                         25 the State of Nevada.

                                                         26          8.     Plaintiff is informed and believes, and on that basis alleges, that Defendant

                                                         27 NORTHERN INSURANCE COMPANY OF NEW YORK (“Northern”) at all times mentioned

                                                         28 herein was and is an Illinois corporation with its principal place of business in Illinois. Upon


                                                                                                             2 of 16
                                                              Case 2:16-cv-01278-JCM-GWF Document 1 Filed 06/08/16 Page 3 of 16



                                                          1 information and belief, Assurance is and was at all times mentioned herein eligible to do business

                                                          2 as an insurer in the State of Nevada.

                                                          3          9.     Plaintiff is informed and believes, and on that basis alleges, that Defendant ST.

                                                          4 PAUL FIRE AND MARINE INSURANCE COMPANY (“St. Paul”) at all times mentioned

                                                          5 herein was and is a Connecticut corporation with its principal place of business in Connecticut.

                                                          6 Upon information and belief, St. Paul is and was at all times mentioned herein eligible to do

                                                          7 business as an insurer in the State of Nevada.

                                                          8          10.    Plaintiff is informed and believes, and on that basis alleges, that Defendant

                                                          9 UNIONAMERICA INSURANCE COMPANY LIMITED, a successor in interest to ST. PAUL

                                                         10 REINSURANCE COMPANY LIMITED (“Unionamerica”) at all times mentioned herein was

                                                         11 and is a London, UK corporation with its principal place of business in London, UK. Upon
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                                                         12 information and belief, Unionamerica and its predecessor in interest are and were at all times
                         LAS VEGAS, NEVADA 89128




                                                         13 mentioned herein eligible to do business as an insurer in the State of Nevada.
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                                                         14                                   JURISDICTION AND VENUE
                                                         15          11.    This Court has original jurisdiction over this action founded on diversity of
                                                         16 citizenship pursuant 28 U.S.C. § 1332, because the matters in controversy exceed $75,000.00,

                                                         17 exclusive of interest and costs, and because complete diversity exists between Centex and

                                                         18 Defendants.

                                                         19          12.    Venue is proper in this Court in accordance with 28 U.S.C. § 1391.

                                                         20                                    GENERAL ALLEGATIONS
                                                         21 The Liberty Hill Estates Development

                                                         22          13.    Centex is a homebuilder that participated in the construction of a residential

                                                         23 development known as Liberty Hill Estates (the “Development”), which is located in Sparks,

                                                         24 Nevada.

                                                         25          14.    Centex performed no work on the Development; instead, subcontractors performed

                                                         26 all of the work.

                                                         27          15.    Mountain Aire, Inc. (“Mountain”) subcontracted with Centex to, among other

                                                         28 things, provide heating, ventilation, and air conditioning systems in the Development.


                                                                                                             3 of 16
                                                              Case 2:16-cv-01278-JCM-GWF Document 1 Filed 06/08/16 Page 4 of 16



                                                          1          16.     Premier Landscaping (“Premier”) subcontracted with Centex to, among other

                                                          2 things, fine grade, landscape, and provide irrigation in the Development.

                                                          3          17.     Valley Concrete Company, Inc. (“Valley”) subcontracted with Centex to, among

                                                          4 other things, provide concrete flatwork in the Development.

                                                          5          18.     Western Shower Door, Inc. (“Western”) subcontracted with Centex to, among other

                                                          6 things, provide shower doors and shower enclosures in the Development.

                                                          7 The Assurance and Northern Policies

                                                          8          19.     Mountain performed work at the Developments pursuant to one or more written

                                                          9 subcontracts that it entered into with Centex.

                                                         10          20.     Each subcontract required Mountain to maintain commercial general liability

                                                         11 insurance with minimum limits of $1,000,000 combined single limit per occurrence, $2,000,000
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                                                         12 general aggregate, and $2,000,000 products/completed operations aggregate, and to name “Centex
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                                                         13 Homes, a Nevada general partnership, Centex Real Estate Corporation, a Nevada corporation, and
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                                                         14 the owner of the Site if other than Centex Homes, their respective officers, directors, partners,

                                                         15 members and employees, as additional insureds” under those insurance policies.

                                                         16          21.     Upon information and belief, Mountain obtained the following commercial general

                                                         17 liability policies from Assurance and Northern (“the Assurance and Northern policies”):

                                                         18
                                                                      Insurer               Policy Number                Policy Period       Additional Insured
                                                         19    Northern & Assurance         SCP 38317435               4/29/01 – 4/29/05          Centex

                                                         20

                                                         21          22.     The Assurance and Northern policies were endorsed to cover Centex as an
                                                         22 “additional insured” with respect to liability arising out of Mountain’s work.

                                                         23          23.     The coverage afforded under the Assurance and Northern policies requires
                                                         24 Defendants Assurance and Northern to defend Centex against all claims that create potential

                                                         25 liability for covered property damage or bodily injury.

                                                         26 The St. Paul Policies

                                                         27          24.     Premier performed work at the Development pursuant to written subcontracts that it
                                                         28 entered into with Centex.


                                                                                                             4 of 16
                                                              Case 2:16-cv-01278-JCM-GWF Document 1 Filed 06/08/16 Page 5 of 16



                                                          1          25.     Each subcontract required Premier to maintain commercial general liability

                                                          2 insurance with minimum limits of $1,000,000 combined single limit per occurrence, $2,000,000

                                                          3 general aggregate, and $2,000,000 products/completed operations aggregate, and to name “Centex

                                                          4 Homes, a Nevada general partnership, Centex Real Estate Corporation, a Nevada corporation, and

                                                          5 the owner of the Site if other than Centex Homes, their respective officers, directors, partners,

                                                          6 members and employees, as additional insureds” under those insurance policies.

                                                          7          26.     Premier obtained the following commercial general liability policies from St. Paul

                                                          8 (“the St. Paul policies”):

                                                          9     Insurer        Policy Number             Policy Period       Named Insured           Additional
                                                                                                                                                      Insured
                                                         10     St. Paul        GL08100458           11/8/03 – 11/8/08           Premier              Centex
                                                         11          27.     The St. Paul policies were endorsed to cover Centex as an “additional insured” with
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                                                         12 respect to liability arising out of Premier’s work.
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                                                         13
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                                                                     28.     The coverage afforded under the St. Paul policies require Defendant St. Paul to
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                                                         14 defend Centex against all claims that create potential liability for covered property damage or

                                                         15 bodily injury.

                                                         16 The Zurich London Policies

                                                         17          29.     Western performed work at the Development pursuant to one or more written
                                                         18 subcontracts that it entered into with Centex.

                                                         19          30.     Each subcontract required Western to maintain commercial general liability
                                                         20 insurance with minimum limits of $1,000,000 combined single limit per occurrence, $2,000,000

                                                         21 general aggregate, and $2,000,000 products/completed operations aggregate, and to name “Centex

                                                         22 Homes, a Nevada general partnership, Centex Real Estate Corporation, a Nevada corporation, and

                                                         23 the owner of the Site if other than Centex Homes, their respective officers, directors, partners,

                                                         24 members and employees, as additional insureds” under those insurance policies.

                                                         25          31.     Western obtained the following commercial general liability policies from Zurich
                                                         26 London (“the Zurich London policies”):

                                                         27         Insurer              Policy Number              Policy Period          Additional Insured
                                                                Zurich London            TCS 60156-00             10/1/00 – 10/1/01             Centex
                                                         28


                                                                                                              5 of 16
                                                              Case 2:16-cv-01278-JCM-GWF Document 1 Filed 06/08/16 Page 6 of 16



                                                          1         Insurer            Policy Number               Policy Period           Additional Insured
                                                                Zurich London          TCS 60156-01              10/1/01 – 10/1/02              Centex
                                                          2
                                                                Zurich London           TCS 60156-02             10/1/02 – 10/1/03               Centex
                                                          3

                                                          4          32.     The Zurich London policies were endorsed to cover Centex as an “additional
                                                          5 insured” with respect to liability arising out of Western’s work.

                                                          6          33.     The coverage afforded under the Zurich London policies required Defendant Zurich
                                                          7 London to defend Centex against all claims that create potential liability for covered property

                                                          8 damage or bodily injury.

                                                          9 The Unionamerica Policy

                                                         10          34.     Valley performed work at the Development pursuant to one or more written
                                                         11 subcontracts that it entered into with Centex.
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                                                         12          35.     Each subcontract required Valley to maintain commercial general liability
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                                                         13 insurance with minimum limits of $1,000,000 combined single limit per occurrence, $2,000,000
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                                                         14 general aggregate, and $2,000,000 products/completed operations aggregate, and to name “Centex

                                                         15 Homes, a Nevada general partnership, Centex Real Estate Corporation, a Nevada corporation, and

                                                         16 the owner of the Site if other than Centex Homes, their respective officers, directors, partners,

                                                         17 members and employees, as additional insureds” under those insurance policies.

                                                         18          36.     Valley obtained the following commercial general liability policy from
                                                         19 Unionamerica (“the Unionamerica policy”):

                                                         20      Insurer           Policy Number                  Policy Period             Additional Insured
                                                         21   Unionamerica         GL-5024-1-02-1                1/1/02 – 1/1/03                 Centex

                                                         22          37.     The Unionamerica policy was endorsed to cover Centex as an “additional insured”
                                                         23 with respect to liability arising out of Valley’s work.

                                                         24          38.     The coverage afforded under the Unionamerica policy required Defendant
                                                         25 Unionamerica to defend Centex against all claims that create potential liability for covered

                                                         26 property damage or bodily injury.

                                                         27 / / /

                                                         28


                                                                                                             6 of 16
                                                              Case 2:16-cv-01278-JCM-GWF Document 1 Filed 06/08/16 Page 7 of 16



                                                          1 The Story Action

                                                          2          39.     On or about March 29, 2012, homeowners in the Development filed a first

                                                          3 amended construction defect complaint entitled, Susan H. Story, et al. v. Centex Homes, Second

                                                          4 Judicial District Court, Washoe County, Nevada, Case No. CV12-00240 (“Story”), against Centex

                                                          5 alleging, among other things, that homes in the Development contained defective and negligent

                                                          6 engineering and construction, that these defects caused damages that Centex is liable for.

                                                          7          40.     The Story action seeks damages from Centex for property damage arising out of the

                                                          8 work or ongoing operations of various subcontractors, including Mountain, Premier, Valley, and

                                                          9 Western.

                                                         10          41.     As a result of the claims alleged in the Story action, Centex has incurred significant

                                                         11 costs, including, but not limited to, forensic, investigative, and repair costs, attorneys’ fees and
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                                                         12 other expenses.
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                                                         13 Assurance and Northern Respond to the Story Action
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                                                         14          42.     Centex tendered the defense and indemnity of the Story action to Assurance and
                                                         15 Northern on or around October 20, 2011.

                                                         16          43.     On January 27, 2012, Assurance and Northern improperly denied their duty to
                                                         17 defend Centex in the Story action under the Assurance and Northern policies issued to Mountain.

                                                         18          44.     Pursuant to the Assurance and Northern policies, Assurance and Northern, and each
                                                         19 of them respectively owes a duty to defend Centex and pay all of the defense fees and costs that

                                                         20 Centex incurred in defending the Story action.

                                                         21          45.     As a result of each Northern and Assurance’s failure acknowledge their respective

                                                         22 duties to defend Centex, Centex was forced to expend significant amounts of time and money

                                                         23 defending itself against the Story action.

                                                         24 St. Paul Responds to the Story Action

                                                         25          46.     Centex tendered the defense and indemnity of the Story action to St. Paul on or

                                                         26 around October 20, 2011.

                                                         27          47.     On January 24, 2012, St. Paul improperly denied its duty to defend Centex in the

                                                         28 Story action under the St. Paul policies issued to Premier.


                                                                                                             7 of 16
                                                              Case 2:16-cv-01278-JCM-GWF Document 1 Filed 06/08/16 Page 8 of 16



                                                          1          48.     As a result of St. Paul’s conduct, Centex was forced to expend significant amounts

                                                          2 of time and money defending itself against the Story action.

                                                          3          49.     Pursuant to the St. Paul policies, St. Paul owes a duty to defend Centex and pay all

                                                          4 of the defense fees and costs that Centex incurred in defending the Story action.

                                                          5 Unionamerica Responds to the Story Action

                                                          6          50.     Centex tendered the defense and indemnity of the Story action to Unionamerica on

                                                          7 or around October 20, 2011.

                                                          8          51.     Over two years later, on October 30, 2013, Unionamerica agreed to defend Centex.

                                                          9 However, since that time, Unionamerica has limited its obligation to pay defense fees and costs in

                                                         10 the Story action to only a portion of the total defense fees and costs it owes.

                                                         11          52.     To date, Unionamerica has paid approximately $138,399.92 towards Centex’s
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                                                         12 defense costs in the Story action.
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                                                         13          53.     Pursuant to the Unionamerica policy, Unionamerica owes a duty to defend Centex
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                                                         14 and pay all of the defense fees and costs that Centex incurred in defending the Story action.

                                                         15          54.     As a result of Unionamerica’s failure to fully defend Centex, Centex was forced to

                                                         16 expend significant amounts of time and money defending itself against the Story action.

                                                         17 Zurich London Responds to the Story Action

                                                         18          55.     Centex tendered the defense and indemnity of the Story action to Zurich London or
                                                         19 around October 20, 2011.

                                                         20          56.     On April 17, 2012, Zurich London improperly denied its duty to defend Centex in

                                                         21 the Story action under the Zurich London policies.

                                                         22          57.     Pursuant to the Zurich London policies, Zurich London owes a duty to defend

                                                         23 Centex and pay all of the defense fees and costs that Centex incurred in defending the Story action.

                                                         24          58.     As a result of Zurich London’s failure to acknowledge its duty to defend Centex,

                                                         25 Centex was forced to expend significant amounts of time and money defending itself against the

                                                         26 Story action.

                                                         27 / / /

                                                         28 / / /


                                                                                                             8 of 16
                                                              Case 2:16-cv-01278-JCM-GWF Document 1 Filed 06/08/16 Page 9 of 16



                                                          1                                    FIRST CAUSE OF ACTION
                                                          2                                          Breach of Contract
                                                          3                                  (By Centex Against All Defendants)
                                                          4          59.    Centex realleges the allegations contained in paragraphs 1 through 58, inclusive,
                                                          5 and incorporates them by reference as though fully set forth herein.

                                                          6          60.    Centex requested that Defendants defend Centex against the Story action as

                                                          7 described more fully above. Centex has performed all obligations owing under each of the

                                                          8 policies in connection with its tender of defense, and Centex has satisfied all relevant conditions

                                                          9 precedent.

                                                         10          61.    Defendants have failed to discharge their contractual duties to defend Centex
                                                         11 against the Story action. More particularly, Defendants: (1) breached their contracts by failing to
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                                                         12 promptly respond to Centex’s tenders; and (2) breached their contracts by refusing to defend
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                                                         13 Centex.
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                                                         14          62.    As a direct and proximate result of Defendants’ conduct as alleged in this
                                                         15 Complaint, Centex has been damaged in an amount to be proven at trial.

                                                         16                                   SECOND CAUSE OF ACTION
                                                         17                  Breach of the Implied Covenant of Good Faith and Fair Dealing
                                                         18                                  (By Centex Against All Defendants)

                                                         19          63.    Centex realleges the allegations contained in paragraphs 1 through 62, inclusive,

                                                         20 and incorporates them by reference as though fully set forth herein.

                                                         21          64.    Defendants owe Centex a duty of good faith and fair dealing, obligating Defendants

                                                         22 to put Centex’s interests equal with or ahead of their own interests and to do nothing to deprive

                                                         23 Centex of policy benefits.

                                                         24          65.    Rather than honor their obligations, Defendants have instead sought to protect their

                                                         25 own interests and have subordinated Centex’s interests by refusing to discharge contractual duties

                                                         26 without reasonable grounds or good cause.

                                                         27          66.    In addition, Defendants have acted with knowledge or reckless disregard of the lack

                                                         28 of a reasonable grounds or good cause.


                                                                                                            9 of 16
                                                              Case 2:16-cv-01278-JCM-GWF Document 1 Filed 06/08/16 Page 10 of 16



                                                          1          67.     Accordingly, Defendants have deprived Centex of its rights and benefits under their

                                                          2 policies. For example:

                                                          3                  a.      Pursuant to clearly applicable law, Defendants have a duty to promptly

                                                          4 investigate and respond to Centex’s tenders and indicate whether they would defend Centex

                                                          5 against the Story action. Defendants understand and are fully aware of this duty. Despite their

                                                          6 knowledge of this obligation, Defendants have failed to respond to Centex’s tenders in a timely

                                                          7 fashion, or at all. On information and belief, these delays violate Defendants’ own internal

                                                          8 policies. To further delay making coverage decisions and avoid assuming the financial burden of

                                                          9 defending Centex, on some occasions Defendants requested documents that Centex had already

                                                         10 supplied to Defendants so as to force Centex to continue defending itself and incur costs without

                                                         11 Defendants’ support. Defendants delayed rendering coverage decisions in conscious disregard of
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                                                         12 the risk that these delays would jeopardize Centex’s ability to adequately defend itself against the
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                                                         13 Story action, and would jeopardize Centex’s ability to settle those matters. Defendants’ decisions
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                                                         14 to delay responding to Centex’s tenders were motivated by a desire to unfairly enhance their own

                                                         15 profits by avoiding contractual obligations and ignoring the contractual rights and economic

                                                         16 interests of Centex. Defendants acted in a deliberate and concerted fashion to achieve this self-

                                                         17 serving economic objective. Defendants’ conduct in this regard tortiously breaches the duty of

                                                         18 good faith and fair dealing owed to Centex, and recklessly disregards Centex’s economic and

                                                         19 property rights.

                                                         20                  b.      Pursuant to clearly applicable law, Defendants have a duty to defend

                                                         21 additional insureds, like Centex, for claims alleging potential for liability arising out of the work

                                                         22 or ongoing operations of their named insureds. Defendants understand and are fully aware of this

                                                         23 duty. Despite knowledge of this obligation, Defendants routinely attempt to avoid this obligation

                                                         24 by taking arbitrary and capricious coverage positions. More specifically, despite knowledge of the

                                                         25 terms of their insurance policies, additional-insured endorsements, the relevant case law, and the

                                                         26 facts alleged in Story action, Defendants refused to acknowledge their duties to defend Centex

                                                         27 against the Story action, even though most Defendants readily acknowledged this duty to their

                                                         28 own named insureds in each of these cases. Defendants consistently and intentionally treat Centex


                                                                                                            10 of 16
                                                              Case 2:16-cv-01278-JCM-GWF Document 1 Filed 06/08/16 Page 11 of 16



                                                          1 and other additional insured differently from named insured with respect to the degree of

                                                          2 investigation undertaken, the coverage positions Defendants’ assert and the defense they are

                                                          3 willing to provide. Likewise, Defendants took coverage positions in the Story action that are

                                                          4 inconsistent with positions they took in other identical cases and situations. Defendants’ decisions

                                                          5 to deny or delay responding to Centex’s tenders were motivated by a desire to enhance unfairly

                                                          6 their own profits by avoiding contractual obligations and ignoring the contractual rights and

                                                          7 economic interests of Centex. Defendants acted in a deliberate and concerted fashion to achieve

                                                          8 this self-serving economic objective. Defendants’ conduct in this regard tortiously breaches the

                                                          9 duty of good faith and fair dealing owed to Centex, and recklessly disregards Centex’s economic

                                                         10 and property rights.

                                                         11                 c.      Pursuant to clearly applicable law, Defendants have a duty to fully defend
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                                                         12 Centex, as opposed to only providing Centex with a proportional or partial defense based on the
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                                                         13 liability of their named insureds. Defendants understand and are fully aware of this duty. Despite
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                                                         14 Defendants’ knowledge that they have a duty to fully defend Centex against the Story action

                                                         15 pursuant to clearly applicable law, Defendants unreasonably refused to do so. These refusals were

                                                         16 motivated by a desire to enhance unfairly Defendants’ own profits by avoiding contractual

                                                         17 obligations and ignoring the contractual rights and economic interests of Centex. Defendants

                                                         18 acted in a deliberate and concerted fashion to achieve this self-serving economic objective.

                                                         19 Defendants’ conduct in this regard tortiously breaches the duty of good faith and fair dealing owed

                                                         20 to Centex, and recklessly disregards Centex’s economic and property rights.

                                                         21          68.    Defendants’ conduct as alleged in this Complaint is part of a pattern of unfair

                                                         22 claims practices intentionally engaged in by Defendants to enhance unfairly their own profits by

                                                         23 avoiding contractual obligations and ignoring the contractual rights and economic interests of

                                                         24 Centex and other additional insureds. These systematic practices include: (1) failing to respond

                                                         25 promptly to tenders from additional insureds; (2) wrongfully denying additional insureds coverage

                                                         26 owed under policies; and (3) refusing to supply a full defense to additional insureds as required by

                                                         27 law and instead trying to limit coverage obligations to funding only a small fraction of the

                                                         28 additional insured’s defense.


                                                                                                           11 of 16
                                                              Case 2:16-cv-01278-JCM-GWF Document 1 Filed 06/08/16 Page 12 of 16



                                                          1          69.     As a direct and proximate result of Defendants’ tortious breach of the duty of good

                                                          2 faith and fair dealing, Centex has suffered damages in an amount to be proven at trial, including

                                                          3 without limitation, legal costs incurred to obtain the benefits of the respective policies.

                                                          4          70.     In addition, Defendants’ conduct as alleged in this Complaint is despicable and has

                                                          5 been carried out in willful and conscious disregard of Centex’s rights and economic interests, and

                                                          6 is malicious, fraudulent and oppressive. Accordingly, Defendants’ conduct entitles Centex to

                                                          7 punitive damages.

                                                          8          71.     Defendants’ malicious, fraudulent, and oppressive conduct includes, for example:

                                                          9                  a.     As described above, Defendants were fully aware of their duty to promptly

                                                         10 investigate and respond to Centex’s tenders and indicate whether Defendants would defend Centex

                                                         11 against the Story action, but Defendants delayed responding to Centex’s tenders and ignored
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                                                         12 Centex’s numerous requests. Defendants knew that failing to promptly respond to Centex’s
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                                                         13 tenders and defend it would violate Centex’s contractual rights and jeopardize Centex’s ability to
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                                                         14 successfully defend itself against the Story action, but Defendants did so anyway in willful and

                                                         15 conscious disregard of Centex’s rights.

                                                         16                  b.     As described above, Defendants are fully aware of their duty to defend

                                                         17 additional insureds, like Centex, against claims alleging potential liability arising out of the work

                                                         18 of their named insureds, but routinely attempt to avoid these obligations by treating additional

                                                         19 insured differently from named insureds. Defendants know this behavior violates the rights of

                                                         20 additional insureds, like Centex, but Defendants intentionally try to deprive additional insureds,

                                                         21 like Centex, of policy benefits in order to unfairly enhance their own profits.

                                                         22                  c.     As described above, Defendants were fully aware of their duty to fully

                                                         23 defend Centex as opposed to only providing a proportional or partial defense based on the liability

                                                         24 of their named insureds. Defendants knew that failing to provide Centex with a full defense would

                                                         25 violate its contractual rights, but Defendants intentionally claimed their duties were partial in

                                                         26 willful violation of their contractual duties.

                                                         27 / / /

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                                                                                                             12 of 16
                                                              Case 2:16-cv-01278-JCM-GWF Document 1 Filed 06/08/16 Page 13 of 16



                                                          1                                    THIRD CAUSE OF ACTION
                                                          2                Violations of Nevada’s Unfair Claims Settlement Practices Action,
                                                          3                                  Nev. Rev. Stat. Ann. § 686A.310
                                                          4                                 (By Centex Against All Defendants)
                                                          5          72.    Centex realleges the allegations contained in paragraphs 1 through 71, inclusive,

                                                          6 and incorporates them by reference as though fully set forth herein.

                                                          7          73.    Defendants’ conduct constitutes a violation of one or more of the following sub-

                                                          8 sections of Nev. Rev. Stat. Ann. § 686A.310:

                                                          9                 a.      Failing to acknowledge and act reasonably promptly upon communications

                                                         10 with respect to claims arising under insurance policies.

                                                         11                 b.      Failing to adopt and implement reasonable standards for the prompt
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                                                         12 investigation and processing of claims under insurance policies.
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                                                         13                 c.      Failing to affirm or deny coverage of claims within a reasonable time after
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                                                         14 proof of loss requirements have been completed and submitted by the insured.

                                                         15                 d.      Failing to effectuate prompt, fair and equitable settlements of claims in
                                                         16 which liability of the insurer has become reasonably clear.

                                                         17                 e.      Compelling insureds to institute litigation to recover amounts due under an
                                                         18 insurance policy by offering substantially less than the amounts ultimately recovered in actions

                                                         19 brought by such insureds when the insureds have made claims for amounts reasonably similar to

                                                         20 the amounts ultimately recovered.

                                                         21                 f.      On information and belief, Defendants have engaged in other conduct in the

                                                         22 handling of the Story action that constitutes unfair practices under other provisions of NRS

                                                         23 686A.310.

                                                         24          74.    As a direct and proximate result of Defendants’ violations of Nev. Rev. Stat. Ann.

                                                         25 § 686A.310, Centex has sustained damages in an amount within the jurisdictional limits of this

                                                         26 Court, including, but not limited to, punitive damages.

                                                         27          75.    As a direct and proximate result of Defendants’ violations of Nev. Rev. Stat. Ann.

                                                         28 § 686A.310, Centex has incurred attorneys’ fees, court costs and other expenses in bringing this


                                                                                                           13 of 16
                                                              Case 2:16-cv-01278-JCM-GWF Document 1 Filed 06/08/16 Page 14 of 16



                                                          1 action.

                                                          2                                   FOURTH CAUSE OF ACTION
                                                          3                                          (Declaratory Relief)
                                                          4           76.   Centex realleges the allegations contained in paragraphs 1 through 75, inclusive,
                                                          5 and incorporates them by reference as though fully set forth herein.

                                                          6           77.   An actual controversy has arisen and now exists between Centex, on the one hand,

                                                          7 and Defendants, on the other hand, in that Centex contends that under the respective policies

                                                          8 issued by each Defendant, each Defendant owes a separate and independent duty to promptly and

                                                          9 fully defend Centex in the Story action.

                                                         10           78.   Centex is informed and believes that Defendants contend otherwise.
                                                         11           79.   Centex desires a judicial determination as follows:
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                                                         12                      a. that each Defendant owes a separate and independent duty to defend Centex
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                                                         13 against the Story action;
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                                                         14                      b. that the scope of this duty is to provide Centex with an immediate and full
                                                         15 defense;

                                                         16                      c. that the obligations of any one Defendant to provide Centex with an
                                                         17 immediate and full defense is not diminished or reduced when other Defendants owe Centex this

                                                         18 same duty.

                                                         19           80.   A declaratory judgment is both proper and necessary so that the respective rights,

                                                         20 duties, and obligations of Centex and Defendants may be determined.

                                                         21                                               PRAYER
                                                         22           WHEREFORE, Centex prays for judgment against Defendants as follows:

                                                         23           1.    FIRST CAUSE OF ACTION:
                                                         24                 a.      For general and specific damages in an amount to be proven at trial;

                                                         25                 b.      For all costs and expenses at the full extent permitted by law;

                                                         26                 c.      For pre-judgment interest and post-judgment interest at the full extent

                                                         27                 permitted by law;

                                                         28                 d.      For attorneys’ fees to the extent recoverable by applicable law; and


                                                                                                           14 of 16
                                                              Case 2:16-cv-01278-JCM-GWF Document 1 Filed 06/08/16 Page 15 of 16



                                                          1                e.     For such other and further relief as the Court deems fair and proper.

                                                          2         2.     SECOND CAUSE OF ACTION:
                                                          3                a.     For general and specific damages in an amount to be proven at trial;

                                                          4                b.     For punitive damages at the full extent permitted by law;

                                                          5                c.     For all costs and expenses at the full extent permitted by law;

                                                          6                d.     For pre-judgment interest and post-judgment interest at the full extent

                                                          7                permitted by law;

                                                          8                e.     For attorneys’ fees to the extent recoverable by applicable law; and

                                                          9                f.     For such other and further relief as the Court deems fair and proper.

                                                         10         3.     THIRD CAUSE OF ACTION:
                                                         11                a.     For general and specific damages in an amount to be proven at trial;
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                                                         12                b.     For punitive damages at the full extent permitted by law;
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                                                         13                c.     For all costs and expenses at the full extent permitted by law;
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                                                         14                d.     For pre-judgment interest and post-judgment interest at the full extent
                                                         15                permitted by law;
                                                         16                e.     For attorneys’ fees to the extent recoverable by applicable law; and
                                                         17                f.     For such other and further relief as the Court deems fair and proper.
                                                         18         4.     FOURTH CAUSE OF ACTION:
                                                         19                a.     For declaratory relief as described above;

                                                         20                b.     For all costs and expenses at the full extent permitted by law;

                                                         21                c.     For pre-judgment interest and post-judgment interest at the full extent

                                                         22                permitted by law;

                                                         23                d.     For attorneys’ fees to the extent recoverable by applicable law; and

                                                         24                e.     For such other and further relief as the Court deems fair and proper.

                                                         25                                         JURY DEMAND
                                                         26         Centex hereby demands a trial by jury.

                                                         27 / / /

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                                                                                                         15 of 16
                                                              Case 2:16-cv-01278-JCM-GWF Document 1 Filed 06/08/16 Page 16 of 16



                                                          1                                     Respectfully submitted,

                                                          2 DATED: June 8, 2016               PAYNE & FEARS      LLP

                                                          3

                                                          4
                                                                                              By             /s/ Sarah J. Odia
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                                                                                                     SARAH J. ODIA, NV Bar No. 11053
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                                                                                                     Attorneys for CENTEX HOMES
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